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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA                   Criminal No. 18-608 (RMB)

                                             ORDER FOR CONTINUANCE
                  VS.



 STERLING WHEATEN



      This matter having come before the Court on the joint application of the

United States, by Craig Carpenito, United States Attorney for the District of

New Jersey (Jason M. Richardson, Assistant U.S. Attorney, appearing), and

defendant Sterling Wheaten (Louis Barbone, Esq. and Stacy Ann Biancamano,

Esq. appearing), for an order granting a continuance of proceedings in the

above-captioned matter; and the defendant being aware that he has the right to

have this matter brought to trial within 70 days of the date of his appearance

before a judicial officer of this court pursuant to 18 U.S.C. § 316I(c)(l); and the

defendant having consented to such continuance and having waived such

right; and for good cause shown,

      IT IS THE FINDING OF THIS COURT that this action should be

continued for the following reasons:

      1.   The failure to grant a continuance would deny counsel for the

defendant and counsel for the Government the reasonable time necessary for

effective preparation for trial, taking into account the exercise of due diligence.

      2.   As a result of the foregoing, pursuant to 18 U.S.C. § 3161 (h)(7)(A)
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and (h)(7)(B)(iv), the ends of justice served by the granting of this continuance

outweigh the best interests of the public and the defendant in a speedy trial.

      IT IS, therefore, on this ±day of February, 2019,

      ORDERED that this action be, and hereby is, continued until May 1,

2019; and it is further

      ORDERED that the period from the date of this order through May 1,

2019 be and it hereby is excluded in computing time under the Speedy Trial

Act of 1974, 18 U.S.C. § 3161 et seq.



                                        HONORABLE RENEE MARIE BUMB
                                        United States District Judge


Consented to as to form and entry:

S/Jason M. Richardson

JASON M. RICHARDSON
Assistant U.S. Attorney

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LOUIS BARBONE, Esquire
STACY ANN BIANCAMANO, Esquire
Counsel for defendant Sterling Wheaten




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